










Opinion issued October 20, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–05–00894–CR
____________

IN RE KENNETH N. SNEED, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Kenneth N. Sneed, who is acting pro se, has filed a petition for writ of
mandamus in which he appears to complain that the trial judge has not ruled on
unidentified motions filed by relator.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny relator’s petition for a writ of mandamus.  
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Higley. 


